        Case 3:10-cr-04247-BTM                       Document 280                Filed 04/12/12               PageID.837               Page 1 of 4


    ~AO 245B      (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1

                                             UNITED STATES DISTRICT ~~ll! Pt'i2: 21
                                                 SOUTHERN DISTRICT OF CALlF:?m~.1).."                               .
                                                                                                          1
                    UNITED STATES OF AMERICA                                      JlTDGMENf'!tN           1"ttuMINAL CASE
                                                                                 (For Offenses Committed 09J>r After November 1, 1987)
                                       v.                                                                       ~               DH'U~"

               ALEXANDER ROBERTO ESPINOZA [2]                                     Case Numbe::'\OCR4247-002-BTM                   ~.
                                                                                  KNUT JOHNSON
                                                                                  Defendant's Attorney
    REGISTRATION NO. 22643298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) _1_0_F_T_H_E_I_ND_I_C_TM_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s)__________- _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
     Title & Section                        Nature of Offense                                                                             Number(s)
21 USC 846, 841(a)(I)                CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                   1




        The defendant is sentenced as provided in pages 2 through _ _4'---_ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)
                                                          --------------------------------------
  181 Count(s) remaining counts ofthe Indictment                                 is 0     are 181 dismissed on the motion of the United States.
  181 Assessment:$I00.00 at the rate of $25.00 per quarter through the Inmate Financial Responsibility Program.

  I8l Fine waived                                  o      Forfeiture pursuant to order filed
                                                                                                --------------               , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attomey for this district within 30 days ofany change ofname, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States attomey of any material change in the defendant's economic circumstances.
                                                                              APRIL 9, 2012



                                                                             ~-­
                                                                             ~10
                                                                             UNITED STATES DISTRICT JUDGE

                                                                                                                                        lOCR4247-002-BTM
    Case 3:10-cr-04247-BTM                          Document 280         Filed 04/12/12         PageID.838            Page 2 of 4

AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                Judgment -   Page _ _2 _ of        4
 DEFENDANT: ALEXANDER ROBERTO ESPINOZA [2]
CASE NUMBER: lOCR4247-002-BTM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          NINETY -SEVEN (97) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).                               ~~Q4
                                                                                              BARRY TED          OSKOWITZ
    181 The court makes the following recommendations to the Bureau of Prisons:               UNITED STATES DISTRICT JUDGE
          The Court STRONGLY recommends that the defendant participate in the 500 hour RDAP program. That the defendant
          serve his sentence at an institution in Southern California.



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.       on
                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _________________________________________________________________________________________________________________________
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                              UNITED STA TES MARSHAL


                                                                     By _ _ _ _ _~~~~~~~--------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                    lOCR4247-002-BTM
       Case 3:10-cr-04247-BTM                       Document 280           Filed 04/12/12             PageID.839           Page 3 of 4


AD 2450      (Rev. 3/10) Judgment in a Criminal Case fur Revocations
             Sheet 3   Supervised Release
                                                                                                          Judgment Page -1...- of _ _4:-__
DEFENDANT: ALEXANDER ROBERTO ESPINOZA [2]                                                         a
CASE NUMBER: lOCR4247-002-BTM
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 12 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflJ'm the
         defendant's compliance with such notification requirement.
                                                                                                                           lOCR4247-002-BTM
           Case 3:10-cr-04247-BTM                        Document 280      Filed 04/12/12           PageID.840              Page 4 of 4


         AO 245B   (Rev, 9100) Judgment in a Criminal Case
                   Sheet 4 Special Conditions
                                                                                                        Judgment   Page   --i..- of _-"","4_ _
         DEFENDANT: ALEXANDER ROBERTO ESPINOZA [2]                                                 a
         CASE NUMBER: lOCR4247-002-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
181 Not associate with any person the defendant knows to be in a gang or who associates with a gang.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o Provide complete disclosure ofpersonal and business financial records to the probation officer as requested.
o probation
     prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    Be
            officer.
181 Seek and maintain full time employment andlor schooling or a combination of both.
o   Resolve all outstanding warrants within                  days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least] to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.

o IfStates
      deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
           illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                lOCR4247-002-BTM
